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                           UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION


 In re                                                             Chapter 11

 LTL MANAGEMENT LLC, 1                                             Case No. 21-30589 (JCW)

                           Debtor.


                DEBTOR’S EX PARTE APPLICATION FOR AN
          ORDER AUTHORIZING IT TO RETAIN AND EMPLOY SHOOK,
     HARDY & BACON L.L.P. AS SPECIAL COUNSEL AS OF THE PETITION DATE

                  The above-captioned debtor (the “Debtor”) applies to the Court for the entry of an

 order authorizing it to retain and employ Shook, Hardy & Bacon L.L.P. (“Shook”) as special

 counsel in this chapter 11 case as of October 14, 2021 (the “Petition Date”). In support of this

 Application, the Debtor respectfully represents as follows:

                                                  Background

                  1.       On the Petition Date, the Debtor commenced this reorganization case by

 filing a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The Debtor is

 authorized to continue to manage its property and operate its business as a debtor in possession

 pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. 2

                  2.       The Debtor is a North Carolina limited liability company. It is the direct

 parent of Royalty A&M LLC, a North Carolina limited liability company, which manages a

 portfolio of royalty revenue streams, including some based on third-party sales of certain


 1
         The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
         501 George Street, New Brunswick, New Jersey 08933.
 2
         This Court has subject matter jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and 1334.
         This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this Court pursuant to
         28 U.S.C. §§ 1408 and 1409.



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 products, and will seek opportunities to acquire or finance additional royalty revenue streams.

 As of the Petition Date, the Debtor was a defendant in thousands of lawsuits asserting personal

 injuries allegedly caused by exposure to talc-containing products.

                  3.      A comprehensive description of the Debtor, its history, its assets and

 liabilities and the events leading to the commencement of this chapter 11 case can be found in

 the Declaration of John K. Kim in Support of First Day Pleadings [Dkt. 5] (the “First Day

 Declaration”), which was filed on the Petition Date and is incorporated herein by reference. In

 addition to the First Day Declaration, the Debtor has filed an Informational Brief [Dkt. 3] to

 provide additional information about its talc litigation, related costs and plans to address these

 matters in this chapter 11 case (the “Chapter 11 Case”).

                  4.      On November 8, 2021, the Court entered an order [Dkt. 355] appointing

 an official committee of talc claimants (the “Talc Committee”) in the Chapter 11 Case.

                                               Relief Requested

                  5.      Pursuant to section 327(e) of the Bankruptcy Code, Rules 2014 and 2016

 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rules 2014-1 and

 2016-1(b) of the Rules of Practice and Procedure of the United States Bankruptcy Court for

 the Western District of North Carolina (the “Local Bankruptcy Rules”), and consistent with

 the Guidelines for Compensation and Expense Reimbursement of Professionals issued by this

 Court (the “Compensation Guidelines”), the Debtor hereby seeks the entry of an order,

 substantially in the form attached hereto as Exhibit A, authorizing it to retain and employ Shook

 as special counsel in the Chapter 11 Case to assist the Debtor 3 on issues relating to the defense of


 3
         Prior to the Petition Date, thousands of talc personal injury claims had been filed or asserted against
         Johnson & Johnson Consumer Inc. (“Old JJCI”). On October 12, 2021, Old JJCI underwent an internal
         corporate restructuring (the “2021 Corporate Restructuring”) as a result of which Old JJCI ceased to exist
         and two new entities were formed—the Debtor and Johnson & Johnson Consumer Inc. (“New JJCI”). The

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 talc-related claims and the resolution thereof, effective as of the Petition Date, in accordance

 with the terms of the engagement letter dated November 8, 2021, a copy of which is attached

 hereto as Exhibit B (the “Engagement Letter”). 4

                  6.       In support of this Application, the Debtor submits, and incorporates herein

 by reference, (a) the Declaration of Kathleen A. Frazier, a partner at Shook (the “Frazier

 Declaration”), a copy of which is attached hereto as Exhibit C, and (b) Shook’s Disclosure of

 Compensation (the “Disclosure of Compensation”), a copy of which is attached hereto as

 Exhibit D.

                                                    Argument

 Shook’s Qualifications

                  7.       Shook, an international law firm with more than 500 attorneys, sixteen

 offices in the United States and one office overseas, served as National Coordinating Counsel for

 Johnson & Johnson (“J&J”) and Old JJCI in connection with talc-related litigation for more than

 a decade, and specifically in connection with litigation involving ovarian cancer claims since

 2017. Since at least 2004, Shook has represented J&J, Old JJCI, and now the Debtor, in matters

 related to the defense of talc claims. As a result, Shook possesses extensive knowledge

 concerning Old JJCI’s talc liabilities, its historical records, company witnesses, the scientific

 issues associated with the talc-related claims against J&J and Old JJCI, Old JJCI’s historical talc

 litigation, and the management, defense and settlement of talc claims.

                  8.       For example, Shook served a primary role as Old JJCI’s counsel

 concerning (a) case-specific work-up of talc-related cases involving ovarian cancer claims across

         Debtor was allocated certain assets of Old JJCI and became responsible for Old JJCI’s talc-related
         liabilities (other than claims for which the exclusive remedy is provided under a workers’ compensation
         statute or similar laws).
 4
         Any references to, or descriptions of, the Engagement Letter herein are qualified by the express terms of
         the Engagement Letter.


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 the country; (b) the assembly and review of the company’s historical documents concerning the

 talc products it made and/or sold; (c) various discovery issues that arose in multiple jurisdictions

 with respect to defense of ovarian cancer talc-related claims; (d) preparation and defense of

 company witnesses who gave deposition and/or trial testimony; (e) identification and

 development of expert witnesses and defense of those experts in deposition or at trial; (f) taking

 plaintiff expert depositions and advising the company’s other counsel regarding same;

 (g) preparation of significant trial briefs; (h) management and supervision of local counsel in the

 preparation of cases for trial; (i) participation as trial counsel or in a supporting role at trial; and

 (j) advice on overall strategic issues with respect to the talc-related litigation.

                  9.          During the course of the Chapter 11 Case, the Debtor will be called upon

 to address, among other things, the very issues for which Shook has served as long-time counsel

 to J&J and Old JJCI and for which Shook has continued to serve the Debtor following the 2021

 Corporate Restructuring, which created the Debtor. 5

                  10.         Shook’s professionals have also worked with relevant personnel and other

 advisors to collect and evaluate information in connection with preparations for the

 commencement of the Chapter 11 Case.

 Scope of Proposed Retention

                        11.      The Debtor does not propose to employ Shook as general bankruptcy

     counsel pursuant to 11 U.S.C. § 327(a), but instead as special counsel pursuant to 11 U.S.C.

     § 327(e) to assist on issues relating to the defense of talc-related claims and the resolution

     thereof. This proposed retention draws on the work Shook performed in the past for J&J,

 5
         Shook served as counsel to Old JJCI until it ceased to exist. Old JJCI’s engagement of Shook was
         allocated to the Debtor in the 2021 Corporate Restructuring. The terms of Shook’s representation of Old
         JJCI were superseded in their entirety by the Engagement Letter. As set forth herein and in the Frazier
         Declaration, Shook continues to represent J&J in certain talc-related litigation, as it did prior to the 2021
         Corporate Restructuring and the Petition Date.


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     Old JJCI and the Debtor as National Coordinating Counsel and the expertise it developed

     from this work. The Debtor anticipates that Shook’s services in this Chapter 11 Case

     focusing primarily on claims and issues related to ovarian and other reproductive tract

     cancers will include:

                        (a)     assisting the Debtor with discovery relating to ovarian cancer talc-
                                related claims;

                        (b)     assisting the Debtor in the defense of privilege and work product
                                issues relating to the talc-related matters;

                        (c)     assisting the Debtor in connection with any estimation proceeding
                                for the Debtor’s talc-related claims;

                        (d)     assisting the Debtor in any stay issues or other matters relating to
                                talc-related claims in non-bankruptcy forums;

                        (e)     assisting the Debtor in negotiations relating to the resolution of
                                talc-related claims in the Chapter 11 Case; and

                        (f)     providing such other specific services as may be requested by
                                the Debtor from time to time relating to the defense, estimation or
                                resolution of the Debtor’s talc-related claims in the Chapter 11
                                Case.

                  12.   As noted above, Shook has substantial expertise developed as a result of

 its work for Old JJCI and J&J prior to the Petition Date. Accordingly, the Debtor respectfully

 submits that Shook is well-qualified to perform these services for the Debtor.

                  13.   Shook will provide the services described above as special counsel to the

 Debtor and will not serve as general bankruptcy and reorganization counsel to the Debtor. The

 Debtor believes that the services Shook will provide will be complementary and not duplicative

 of the services to be performed by Jones Day, as general bankruptcy and reorganization counsel,

 or the other firms retained by the Debtor in this Chapter 11 Case to assist in talc-related matters.

 The Debtor is mindful of the need to avoid the duplication of legal services and appropriate




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 procedures will be implemented to ensure that there is minimal duplication of effort as a result of

 Shook’s role as special counsel.

 Compensation and Fee Applications

                  14.   Pursuant to the terms of the Engagement Letter and subject to the Court’s

 approval of this Application, Shook intends to: (a) charge for its legal services on an hourly

 basis in accordance with the ordinary and customary hourly rates in effect on the date services

 are rendered; and (b) seek reimbursement of actual and necessary out-of-pocket expenses.

                  15.   In addition, to the extent that Shook represents both the Debtor and J&J in

 a matter, Shook will allocate 50% of its fees and expenses incurred in such joint representation to

 the Debtor and 50% to J&J. In matters in which Shook represents solely the Debtor or J&J,

 Shook will allocate 100% of the fees and expenses to the entity represented.

                  16.   Shook will be compensated at the discounted hourly rates previously

 negotiated with the Debtor, which are based on the professionals’ level of experience. At

 present, those hourly rates fall within the following ranges:

                            Billing Category                Range

                                 Partners                 $288 - $863

                           Counsel/Of Counsel             $268-$582

                               Associates                 $236-$446

                                Paralegals                 $88-$225
                           Other (e.g., temps,
                                                           $50-$290
                            Staff Attorneys)

                  17.   Shook’s hourly rates may change from time to time in accordance with

 Shook’s established billing practices and procedures, as contemplated by the Engagement Letter.

 The names, positions, resident offices, and previously negotiated discounted hourly rates as of



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 October 2021 for those Shook professionals currently expected to spend significant time on this

 Chapter 11 Case are attached as Schedule 3 to the Frazier Declaration.

                    18.      Shook’s hourly fees are comparable to those charged by attorneys of

 similar experience and expertise for engagements of similar scope and complexity. Accordingly,

 Shook’s rates are reasonable and favorable to the Debtor’s estate.

                    19.      Shook will maintain detailed, contemporaneous time records in six-minute

 intervals and apply to the Court for payment of compensation and reimbursement of expenses in

 accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local

 Bankruptcy Rules, the Compensation Guidelines, the terms of any order establishing procedures

 for interim compensation and reimbursement of expenses of retained professionals (any such

 order, the “Interim Compensation Order”) and any additional procedures that may be established

 by the Court in the Chapter 11 Case. Shook intends to use the following billing categories: 6

                Category                                             Description
     Document Review and                   Assistance in the collection, review, production, and logging
     Production                            of information sought in the Chapter 11 Case relating to talc
                                           claims

     Preparation of Historical             Activities related to review of historic records and preparing
     Information                           witnesses to address issues of company history and related
                                           matters, and legal advice relating to these issues

     Privilege and Work Product            Activities to defend privilege and work product issues
     Defense                               related to talc claims and the defense thereof

     Preparation of Expert                 Work with expert witnesses to address issues relating to talc
     Witnesses and Related                 matters, as well as assist in the selection of expert witnesses
     Evidence                              and the identification and use of related evidence




 6
           These categories are consistent with and expand upon the project categories in the Compensation
           Guidelines. Shook, in its discretion and in consultation with the Debtor, may determine to create separate
           or additional sub-billing categories for certain discrete projects undertaken during the Chapter 11 Case.


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             Category                                         Description
  Legal and Factual Analysis         Advice, counseling, and marshalling of the facts and law in
  Relating to Talc Claims            connection with talc claims or any activities to resolve or
                                     address such claims, to the extent not covered by another
                                     billing category

  Non-Bankruptcy Litigation          Assist the Debtor and lead bankruptcy counsel in efforts to
  Matters                            enforce or extend the automatic stay or address other issues
                                     arising in non-bankruptcy forums

  Court Hearings                     Includes preparation for and attendance at court hearings.

  Fee Application Preparation        Includes preparation of Shook’s fee applications and related
                                     activities and the preparation of monthly invoices

  Non-Working Travel                 Includes time traveling when no services are being
                                     performed


                  20.   Shook contemplates using the following expense categories: (a) long-

 distance telephone calls; (b) outgoing fax charges; (c) photocopying charges; (d) after normal

 hours word processing; (e) travel expenses; (f) delivery charges; (g) computerized legal research;

 (h) technical support services; and (i) other.

 Compensation Prior to the Petition Date

                  21.   Prior to the Petition Date, no retainer or amounts were paid to Shook by

 the Debtor for professional services and expenses to be incurred.

                  22.   In the one-year period preceding the Petition Date, Shook received

 payments from J&J totaling approximately $16,862,313.00 (collectively, the “Prepetition

 Payments”). The Prepetition Payments reflect certain actual fees and expenses incurred

 primarily in connection with litigation-related work performed in the defense of talc claims on

 behalf of J&J and Old JJCI. Approximately $3,000.00 of the Prepetition Payments relates to

 work in connection with preparations for the 2021 Corporate Restructuring and the Chapter 11

 Case.


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 Disclosure Concerning Disinterestedness

                  23.      The Frazier Declaration, incorporated herein by reference, discloses

 Shook’s connections to the Debtor and parties in interest in the Chapter 11 Case. In reliance on

 the Frazier Declaration and upon Shook’s reasonable inquiry, and except as set forth therein and

 in this Application, the Debtor believes that: (a) Shook has no connection with the Debtor, its

 affiliates, 7 its creditors, the United States Bankruptcy Administrator for the Western District of

 North Carolina (the “Bankruptcy Administrator”), any person employed in the office of the

 Bankruptcy Administrator or any other party with an actual or potential interest in the Chapter 11

 Case or their respective attorneys or accountants, except as set forth in the Frazier Declaration;

 (b) Shook is not a creditor, 8 equity security holder or insider of the Debtor except as set forth

 herein and in the Disclosure of Compensation; (c) none of Shook’s lawyers is, or was within two

 years of the Petition Date, a director, officer or employee of the Debtor; and (d) Shook neither

 holds nor represents an interest materially adverse to the Debtor or its estate with respect to the

 matters on which Shook is to be employed.

                  24.      In the event that Shook’s representation of the Debtor in connection with

 any particular matter in the Chapter 11 Case would result in it becoming adverse to a party in

 interest that gives rise to a professional conflict, the Debtor will use separate counsel to represent

 its interests with respect to such matter against such party. If that occurs, it is anticipated that

 conflicts counsel may be retained in connection with that matter.




 7
         As described in the Frazier Declaration, Shook has represented, and represents, the Debtor as well as
         certain non-debtor affiliates of the Debtor in matters unrelated to the Chapter 11 Case.
 8
         As of the Petition Date, $4,051,823.84 remains outstanding in actual fees and expenses for work performed
         with respect to the talc litigation on behalf of J&J and Old JJCI. Shook has or will bill those fees and
         expenses to J&J, consistent with the terms of its engagement with J&J and prior engagement with Old JJCI.


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                                      Legal Basis for Relief Requested

                  25.      Under section 327(e) of the Bankruptcy Code, a debtor in possession is

 authorized to employ, “for a specified special purpose, … an attorney that has represented

 the debtor, if in the best interest of the estate, and if such attorney does not represent or hold any

 interest adverse to the debtor or to the estate with respect to the matter on which such attorney is

 to be employed.” 11 U.S.C. § 327(e).

                  26.      As required by section 329(a) of the Bankruptcy Code9 and Bankruptcy

 Rule 2014(a), 10 the above-described facts set forth in this Application and the information in

 the exhibits attached hereto set forth: (a) the specific facts showing the necessity for Shook’s

 employment; (b) the reasons for the Debtor’s selection of Shook as special counsel in connection

 with talc-related litigation during the Chapter 11 Case; (c) the professional services proposed to

 be provided by Shook; (d) the arrangement between the Debtor and Shook with respect to

 9
         Section 329(a) of the Bankruptcy Code provides as follows:
                  Any attorney representing a debtor in a case under this title, or in connection
                  with such a case, whether or not such attorney applies for compensation under
                  this title, shall file with the court a statement of the compensation paid or agreed
                  to be paid, if such payment or agreement was made after one year before the
                  date of the filing of the petition, for services rendered or to be rendered in
                  contemplation of or in connection with the case by such attorney, and the source
                  of such compensation.
         11 U.S.C. § 329(a). This information is set forth in the Disclosure of Compensation attached hereto as
         Exhibit D.
 10
         Bankruptcy Rule 2014(a) provides that an application seeking the employment of professional persons
         pursuant to section 327 of the Bankruptcy Code:
                  shall state the specific facts showing the necessity for the employment, the name
                  of the person to be employed, the reasons for the selection, the professional
                  services to be rendered, any proposed arrangement for compensation, and, to the
                  best of the applicant’s knowledge, all of the person’s connections with the
                  debtor, creditors, any other party in interest, their respective attorneys and
                  accountants, the United States trustee, or any person employed in the office of
                  the United States trustee. The application shall be accompanied by a verified
                  statement of the person to be employed setting forth the person’s connections
                  with the debtor, creditors, any other party in interest, their respective attorneys
                  and accountants, the United States trustee, or any person employed in the office
                  of the United States trustee.
         Fed. R. Bankr. P. 2014(a).


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 Shook’s compensation, including information on retainers and hourly fees and the

 reasonableness thereof; and (e) to the best of the Debtor’s knowledge, the extent of Shook’s

 connections, if any, to certain parties in interest in these matters. Accordingly, Shook’s retention

 by the Debtor should be approved.

                                                Notice

                  27.    Pursuant to Local Bankruptcy Rule 9013-1(f), the Debtor seeks approval

 of this Application on an ex parte basis. Nevertheless, consistent with the Order Establishing

 Certain Notice, Case Management and Administrative Procedures [Dkt. 322] (the “Case

 Management Order”), notice of this Application has been provided to: (a) the Bankruptcy

 Administrator; (b) the Talc Committee; (c) counsel to the Debtor’s non debtor affiliates,

 New JJCI and J&J; and (d) the other parties on the Service List established by the Case

 Management Order. The Debtor submits that, in light of the ex parte nature of the relief

 requested, no other or further notice need be provided.

                                          No Prior Request

                  28.    No prior request for the relief sought in this Application has been made to

 this or any other Court in connection with this Chapter 11 Case.

                  WHEREFORE, the Debtor respectfully requests that the Court: (a) enter an

 order, substantially in the form attached hereto as Exhibit A, granting the relief requested herein;

 and (b) grant such other and further relief to the Debtor as the Court may deem just and proper.

 Dated: November 15, 2021                          Respectfully submitted,
        Charlotte, North Carolina
                                                   LTL Management LLC

                                                   By: /s/ John K. Kim
                                                       John K. Kim
                                                       Chief Legal Officer



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 PROPOSED ATTORNEYS FOR
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                                  EXHIBIT A

                                 Proposed Order




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                           UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION


 In re                                                            Chapter 11

 LTL MANAGEMENT LLC, 1                                            Case No. 21-30589 (JCW)

                          Debtor.


     EX PARTE ORDER AUTHORIZING DEBTOR TO RETAIN AND EMPLOY SHOOK,
      HARDY & BACON L.L.P. AS SPECIAL COUNSEL AS OF THE PETITION DATE

                  This matter coming before the Court on the Debtor’s Ex Parte Application for an

 Order Authorizing It to Retain and Employ Shook, Hardy & Bacon L.L.P. as Special Counsel as

 of the Petition Date (the “Application”), 2 filed by the debtor in the above-captioned case

 (the “Debtor”); the Court having reviewed the Application, the Frazier Declaration, the

 Disclosure of Compensation and the Engagement Letter; the Court finding that (a) the Court has

 jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, (b) venue is proper in this

 district pursuant to 28 U.S.C. §§ 1408 and 1409, (c) this is a core proceeding pursuant to

 1
         The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
         501 George Street, New Brunswick, New Jersey 08933.
 2
         Capitalized terms not otherwise defined herein have the meanings given to the in the Application.



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 28 U.S.C. § 157(d)(2), (d) notice of the Application was sufficient under the circumstances,

 (e) Shook does not hold nor represent any interest materially adverse to the Debtor’s estate as

 required by section 327(e) of the Bankruptcy Code, (f) the Debtor’s retention and employment of

 Shook is in the best interest of the estate as required by section 327(e) of the Bankruptcy Code

 and (g) the Application and all related schedules and exhibits fully comply with the Bankruptcy

 Code, the Bankruptcy Rules, the Local Bankruptcy Rules and the Compensation Guidelines; and

 the Court having determined that the legal and factual bases set forth in the Application, the

 Frazier Declaration and the Disclosure of Compensation establish just cause for the relief granted

 herein;

                  IT IS HEREBY ORDERED THAT:

                  1.    The Application is GRANTED;

                  2.    The Debtor is authorized to retain and employ Shook as its special counsel

 in the Chapter 11 Case, in accordance with section 327(e) of the Bankruptcy Code, Bankruptcy

 Rules 2014 and 2016 and Local Bankruptcy Rules 2014-1 and 2016-1(b), on the terms and

 conditions set forth in the Application and the Engagement Letter, as of the Petition Date.

                  3.    Shook is authorized to render the professional services set forth in the

 Application, the Engagement Letter, and the Frazier Declaration.

                  4.    Shook will use its reasonable efforts to avoid any duplication of services

 provided by any of the Debtor’s other professionals in the Chapter 11 Case.

                  5.    Shook shall be compensated for its services and reimbursed for any related

 expenses as set forth in the Application and the exhibits thereto, and in accordance with

 applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy




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 Rules, the Interim Compensation Order, and any other applicable orders or procedures of this

 Court.

                  6.    To the extent that the terms of this Order are inconsistent with the terms of

 the Engagement Letter, the terms of this Order shall control.

                  7.    This Order shall be immediately effective and enforceable upon its entry.

                  8.    Pursuant to Local Rule 9013-1(f), any party shall be entitled to a hearing

 or request that the Court reconsider the entry of this Order by filing a motion for reconsideration

 within 14 days of service of this Order.

                  9.    The Debtor is authorized and empowered to take all actions necessary to

 implement the relief granted in this Order in accordance with the Application.

                  10.   This Court shall retain exclusive jurisdiction over any and all matters

 arising from or related to the implementation, interpretation, or enforcement of this Order.

 This Order has been signed electronically.                         United States Bankruptcy Court
 The Judge’s signature and Court’s seal appear
 at the top of the Order.




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                                  EXHIBIT B

                               Engagement Letter




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                                   EXHIBIT C

                         Declaration of Kathleen A. Frazier




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                           UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION


 In re                                                            Chapter 11

 LTL MANAGEMENT LLC, 1                                            Case No. 21-30589 (JCW)

                          Debtor.


                          DECLARATION OF KATHLEEN A. FRAZIER

                   Pursuant to Rule 2014(a) of the Federal Rules of Bankruptcy Procedure

 (the “Bankruptcy Rules”) and Rules 2014-1 and 2016-1 of the Rules of Practice and Procedure

 of the United States Bankruptcy Court for the Western District of North Carolina (the “Local

 Bankruptcy Rules”), Kathleen A. Frazier hereby declares as follows:

                   1.     I am an attorney at law admitted and in good standing to practice in the

 State of Texas.

                   2.     I am a partner with the law firm of Shook, Hardy & Bacon L.L.P.

 (“Shook”) and am duly authorized to make this declaration on behalf of Shook. I make this

 declaration in support of the Debtor’s Ex Parte Application for an Order Authorizing It to Retain

 and Employ Shook, Hardy & Bacon L.L.P. as Special Counsel as of the Petition Date

 (the “Application”). 2 The facts set forth in this declaration are personally known to me and, if

 called as a witness, I could and would testify thereto.




 1
         The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
         501 George Street, New Brunswick, New Jersey 08933.
 2
         Capitalized terms not otherwise defined herein have the meanings given to them in the Application.


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                                        Shook’s Qualifications

                  3.     Shook, an international law firm with more than 500 attorneys, sixteen

 offices in the United States and one office overseas, served as National Coordinating Counsel for

 J&J and Old JJCI in connection with talc-related litigation for more than a decade, and

 specifically in connection with litigation involving ovarian cancer claims since 2017. Since at

 least 2004, Shook has represented J&J, Old JJCI, and now the Debtor, in matters related to the

 defense of talc claims. As a result, Shook possesses extensive knowledge concerning Old JJCI’s

 talc liabilities, its historical records, company witnesses, the scientific issues associated with the

 talc-related claims against J&J and Old JJCI, Old JJCI’s historical talc litigation, and the

 management, defense and settlement of talc claims.

                  4.     For example, Shook served a primary role as Old JJCI’s counsel

 concerning (a) case-specific work-up of talc-related cases involving ovarian cancer claims across

 the country; (b) the assembly and review of the company’s historical documents concerning the

 talc products it made and/or sold; (c) various discovery issues that arose in multiple jurisdictions

 with respect to defense of ovarian cancer talc-related claims; (d) preparation and defense of

 company witnesses who gave deposition and/or trial testimony; (e) identification and

 development of expert witnesses and defense of those experts in deposition or at trial; (f) taking

 plaintiff expert depositions and advising the company’s other counsel regarding same;

 (g) preparation of significant trial briefs; (h) management and supervision of local counsel in the

 preparation of cases for trial; (i) participation as trial counsel or in a supporting role at trial; and

 (j) advice on overall strategic issues with respect to the talc-related litigation.

                  5.     During the course of the Chapter 11 Case, the Debtor will be called upon

 to address, among other things, the very issues for which Shook has served as long-time counsel



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 to J&J and Old JJCI and for which Shook has continued to serve the Debtor following the 2021

 Corporate Restructuring, which created the Debtor. 3

                  6.       Shook’s professionals have also worked with relevant personnel and other

 advisors to collect and evaluate information in connection with preparations for the potential

 commencement of the Chapter 11 Case.

                                         Scope of Proposed Retention

                  7.       Shook anticipates that it may provide the following service during this

 Chapter 11 Case, focusing primarily on those claims and issues related to ovarian and other

 reproductive tract cancers:

                           (a)       assisting the Debtor with discovery relating to ovarian cancer talc-
                                     related claims;

                           (b)       assisting the Debtor in the defense of privilege and work product
                                     issues relating to the talc-related matters;

                           (c)       assisting the Debtor in connection with any estimation proceeding
                                     for the Debtor’s talc-related claims;

                           (d)       assisting the Debtor in any stay issues or other matters relating to
                                     talc-related claims in non-bankruptcy forums;

                           (e)       assisting the Debtor in negotiations relating to the resolution of
                                     talc-related claims in the Chapter 11 Case; and

                           (f)       providing such other specific services as may be requested by
                                     the Debtor from time to time relating to the defense, estimation, or
                                     resolution of the Debtor’s talc-related claims in the Chapter 11
                                     Case.




 3
         Shook served as counsel to Old JJCI until it ceased to exist. Old JJCI’s engagement of Shook was
         allocated to the Debtor in the 2021 Corporate Restructuring. The terms of Shook’s representation of Old
         JJCI were superseded in their entirety by the Engagement Letter. As set forth herein and in the
         Application, Shook continues to represent J&J in certain talc-related litigation, as it did prior to the 2021
         Corporate Restructuring and the Petition Date.


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                  8.    As noted above, Shook has substantial expertise developed as a result of

 its work for Old JJCI and J&J prior to the Petition Date. Accordingly, the Debtor respectfully

 submits that Shook is well-qualified to perform these services for the Debtor.

                  9.    Shook will provide the services described above as special counsel to the

 Debtor and will not serve as general bankruptcy and reorganization counsel to the Debtor.

 Shook believes that the services it will provide will be complementary and not duplicative of the

 services to be performed by Jones Day, as general bankruptcy and reorganization counsel, or the

 other firms retained by the Debtor in this Chapter 11 Case to assist in talc-related matters.

                               Compensation and Fee Applications

                  10.   Pursuant to the terms of the Engagement Letter and subject to the Court’s

 approval of the Application, Shook intends to: (a) charge for its legal services on an hourly basis

 in accordance with the ordinary and customary hourly rates in effect on the date services are

 rendered; and (b) seek reimbursement of actual and necessary out-of-pocket expenses.

                  11.   In addition, to the extent that Shook represents both the Debtor and J&J in

 a matter, Shook will allocate 50% of its fees and expenses incurred in such joint representation to

 the Debtor and 50% to J&J. In matters in which Shook represents solely the Debtor or J&J,

 Shook will allocate 100% of the fees and expenses to the entity represented.

                  12.   Shook will be compensated at the discounted hourly rates previously

 negotiated with the Debtor, which are based on the professionals’ level of experience. At

 present, those hourly rates fall within the following ranges:

                            Billing Category                 Range

                                 Partners                 $288 - $863

                           Counsel/Of Counsel             $268-$582



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                               Billing Category                Range

                                   Associates                $236-$446

                                   Paralegals                 $88-$225
                               Other (e.g., temps,
                                                              $50-$290
                                Staff Attorneys)


                  13.    Shook’s hourly rates may change from time to time in accordance with the

 terms of the Engagement Letter and Shook’s established billing practices and procedures. The

 names, positions, resident offices and current hourly rates of those Shook professionals currently

 expected to spend significant time on the Chapter 11 Case are attached as Schedule 3 hereto.

                  14.    Shook’s hourly fees are comparable to those charged by attorneys of

 similar experience and expertise for engagements of similar scope and complexity.

                  15.    Shook will maintain detailed, contemporaneous time records in six-minute

 intervals and apply to the Court for payment of compensation and reimbursement of expenses in

 accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local

 Bankruptcy Rules, the Compensation Guidelines, the Interim Compensation Order and any

 additional procedures that may be established by the Court in the Chapter 11 Case. In addition,

 Shook understands that interim and final fee awards are subject to approval by this Court.

                                Disclosure Concerning Disinterestedness

 Interested Party List

                  16.    The Debtor has provided Shook with a list of the names of individuals or

 institutions that are potential significant parties in interest (collectively, the “Interested Parties”)

 in the following categories:

                         (a)       the Debtor’s direct equity owner;

                         (b)       the Debtor’s direct non-debtor subsidiary;


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                        (c)    other non-debtor affiliates of the Debtor;

                        (d)    managers and officers of the Debtor;

                        (e)    major current business affiliations of the Debtor’s managers;

                        (f)    depository and disbursement banks of the Debtor;

                        (g)    major sureties;

                        (h)    parties to material contracts with the Debtor;

                        (i)    significant co-defendants in talc-related litigation;

                        (j)    the Debtor’s retained professionals and claims agent;

                        (k)    the Debtor’s significant ordinary course professionals, consultants
                               and service providers;

                        (l)    known professionals for certain non-Debtor parties in interest;

                        (m)    material potentially indemnified parties;

                        (n)    law firms with significant representations of talc claimants;

                        (o)    key parties in Imerys Talc America, Inc. and Cyprus Mines Corp.
                               chapter 11 cases;

                        (p)    the Debtor’s insurers; and

                        (q)    parties in interest that have filed a Bankruptcy Rule 2002 notice of
                               appearance in the Chapter 11 Case.

                  17.   The list of Interested Parties also includes available information regarding

 (a) the Bankruptcy Administrator and employees for the Bankruptcy Administrator’s Office for

 the Western District of North Carolina and (b) bankruptcy judges for the Western District of

 North Carolina. The identities of the Interested Parties, developed as of November 3, 2021, are

 set forth on Schedule 1 hereto.

 Evaluation and Disclosure of Connections

                  18.   To check and clear potential conflicts of interest in these cases, as well as

 to determine all “connections” (as such term is used in Bankruptcy Rule 2014) to the Debtor, its


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 creditors, other parties in interest, their respective attorneys, the Bankruptcy Administrator or

 any person employed in the office of the Bankruptcy Administrator, Shook researched its client

 database to determine whether it had any relationships with the Interested Parties. To the extent

 that Shook’s research of its relationships with the Interested Parties indicates that Shook has

 represented in the past two years, or currently represents, any of these entities in matters

 unrelated to the Chapter 11 Case, the identities of these entities and such entities’ relationship to

 the Debtor and connection to Shook, are set forth in Schedule 2 hereto.

                  19.   To the best of my knowledge and belief, insofar as I have been able to

 ascertain after reasonable inquiry, neither I, nor Shook, nor any partner, associate or other

 professional thereof has any connection with the Debtor, its affiliates, its creditors, the

 Bankruptcy Administrator any person employed in the office of the Bankruptcy Administrator or

 any other party with an actual or potential interest in the Chapter 11 Case or their respective

 attorneys or accountants, except as set forth below and in Schedule 2 attached hereto:

                        (a)     Shook has not represented, and does not and will not represent, any
                                entity in matters adverse to the Debtor or its estate with respect to
                                matters on which Shook is to be employed.

                        (b)     Prior to the Petition Date, Shook represented Old JJCI, as National
                                Coordinating Counsel in certain talc-related litigation (the same
                                role it served for the Debtor after the 2021 Corporate
                                Restructuring).

                        (c)     Prior to the Petition Date, Shook represented the Debtor’s parent
                                company and non-debtor affiliate, J&J as National Coordinating
                                Counsel in certain talc-related litigation.

                        (d)     In matters unrelated to the Debtor or the Chapter 11 Case, Shook
                                currently represents or formerly represented certain of the Debtor’s
                                non-debtor affiliates. Shook, however, has not represented, and
                                does not and will not represent, any of these entities in matters
                                adverse to the Debtor or to the estate with respect to matters on
                                which Shook is to be employed.



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                        (e)       In matters unrelated to the Debtor or the Chapter 11 Case, Shook
                                  currently represents Bank of America, N.A., which is the Debtor’s
                                  Depository and Disbursement Bank. This relationship is set forth
                                  on the attached Schedule 2. Shook, however, has not represented,
                                  and does not and will not represent, this entity in matters adverse
                                  to the Debtor or to the estate with respect to matters on which
                                  Shook is to be employed.

                        (f)       In matters unrelated to the Debtor or the Chapter 11 Case, Shook
                                  currently represents U.S. Bank N.A., which is a Party to Material
                                  Contracts with the Debtor. This relationship is set forth on the
                                  attached Schedule 2. Shook, however, has not represented, and
                                  does not and will not represent, this entity in matters adverse to the
                                  Debtor or to the estate with respect to matters on which Shook is to
                                  be employed.

                        (g)       In matters unrelated to the Debtor or the Chapter 11 Case, Shook
                                  currently represents certain parties who are significant
                                  co-defendants in talc cases with the Debtor and affiliates thereof.
                                  These relationships are set forth on the attached Schedule 2.
                                  Shook, however, has not represented, and does not and will not
                                  represent, any of these entities in matters relating to the Debtor or
                                  the Chapter 11 Case.

                        (h)       In matters unrelated to the Debtor or the Chapter 11 Case, Shook
                                  currently represents a number of the Interested Parties categorized
                                  above. These relationships are set forth on the attached
                                  Schedule 2. Shook, however, has not represented, and does not
                                  and will not represent, any of these entities in matters adverse to
                                  the Debtor or to the estate with respect to matters on which Shook
                                  is to be employed.

                              Shook’s Services Prior to the Petition Date

                  20.   The Debtor’s ultimate parent company is J&J. Since at least 2004, Shook

 has provided various legal services to J&J and certain of its subsidiaries, including Old JJCI.

 These legal services have included serving as National Coordinating Counsel for J&J and

 Old JJCI with respect to their talc-related litigation, and representing Old JJCI in matters related

 to the defense of talc claims.




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                              Shook Holds No Adverse Interest with
                    Respect to Matters Upon Which Shook Shall Be Employed

                  21.     To the best of my knowledge, information and belief, insofar as I have

 been able to ascertain after reasonable inquiry, Shook does not represent nor hold any interest

 adverse to the Debtor or its estate with respect to the matters on which Shook is to be employed,

 as required by section 327(e) of the Bankruptcy Code, in that: (a) Shook has no connection with

 the Debtor, its affiliates, its creditors, the Bankruptcy Administrator, any person employed in the

 office of the Bankruptcy Administrator or any other party with an actual or potential interest in

 the Chapter 11 Case or their respective attorneys or accountants, except as set forth herein and on

 Schedule 2; (b) Shook is not a creditor,4 equity security holder or insider of the Debtor, except as

 set forth herein and in the Disclosure of Compensation; (c) no Shook partner, associate or other

 professional is, or was within two years of the Petition Date, a director, officer or employee of

 the Debtor; and (d) none of the matters in which Shook represents an Interested Party are adverse

 to the Debtor or its estate with respect to matters on which Shook is to be employed.

                  22.     Despite the efforts described above to identify and disclose connections

 with parties in interest in this case, because the Debtor is part of a large enterprise and has

 thousands of creditors and other relationships, and because Shook is an international law firm

 with more than 500 attorneys, sixteen offices in the United States and one office overseas, Shook

 is unable to state with certainty that every client representation or other connection of Shook has

 been disclosed. In this regard, if Shook discovers additional information that requires disclosure,

 Shook will file supplemental disclosures with the Court.




 4
         As of the Petition Date, $4,051,823.84 remains outstanding in actual fees and expenses for work performed
         with respect to the talc litigation on behalf of J&J and Old JJCI. Shook has or will bill those fees and
         expenses to J&J, consistent with the terms of its engagement with J&J and prior engagement with Old JJCI.


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                  23.    In addition, it is my understanding that if a conflict of interest with respect

 to a party set forth on Schedule 2 or another party in interest later identified in this case should

 arise, the Debtor will use the services of other conflicts counsel in connection with that matter.

                  Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

 is true and correct to the best of my knowledge and belief

 Dated: November 15, 2021                             /s/ Kathleen A. Frazier
        Houston, Texas                                Kathleen A. Frazier
                                                      Shook, Hardy & Bacon L.L.P.




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                                      Schedule 1

                       Schedule of Potentially Interested Parties




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                                 LTL Management LLC
                               Potentially Interested Parties

 Debtor                                          AMO Groningen B.V.
                                                 AMO International Holdings
 LTL Management LLC                              AMO Ireland
                                                 AMO Ireland Finance Unlimited Company
 Direct Equity Owner of Debtor                   AMO Italy SRL
                                                 AMO Japan K.K.
 Johnson and Johnson Consumer Inc.               AMO Manufacturing Spain S.L.
                                                 AMO Manufacturing USA, LLC
 Debtor’s Direct Non-Debtor Subsidiary           AMO Netherlands BV
                                                 AMO Nominee Holdings, LLC
 Royalty A&M LLC                                 AMO Norway AS
                                                 AMO Puerto Rico Manufacturing, Inc.
 Other Non-Debtor Affiliates
                                                 AMO Sales and Service, Inc.
 3Dintegrated ApS                                AMO Singapore Pte. Ltd.
 Acclarent, Inc.                                 AMO Spain Holdings, LLC
 Actelion Ltd                                    AMO Switzerland GmbH
 Actelion Manufacturing GmbH                     AMO U.K. Holdings, LLC
 Actelion Pharmaceuticals Australia              AMO United Kingdom, Ltd.
    Pty. Limited                                 AMO Uppsala AB
 Actelion Pharmaceuticals Korea Ltd.             AMO US Holdings, Inc.
 Actelion Pharmaceuticals Ltd                    AMO USA Sales Holdings, Inc.
 Actelion Pharmaceuticals Mexico                 AMO USA, LLC
    S.A. De C.V.                                 Animas Diabetes Care, LLC
 Actelion Pharmaceuticals Trading                Animas LLC
    (Shanghai) Co., Ltd.                         Animas Technologies LLC
 Actelion Pharmaceuticals UK Limited             AorTx, Inc.
 Actelion Pharmaceuticals US, Inc.               Apsis
 Actelion Registration Limited                   Aragon Pharmaceuticals, Inc.
 Actelion Treasury Unlimited Company             Asia Pacific Holdings, LLC
 Akros Medical, Inc.                             Atrionix, Inc.
 Albany Street LLC                               AUB Holdings LLC
 ALZA Corporation                                Auris Health, Inc.
 Alza Land Management, Inc.                      Backsvalan 2 Aktiebolag
 AMO (Hangzhou) Co., Ltd.                        Backsvalan 6 Handelsbolag
 AMO (Shanghai) Medical Devices                  Beijing Dabao Cosmetics Co., Ltd.
    Trading Co., Ltd.                            BeneVir BioPharm, Inc.
 AMO ASIA LIMITED                                Berna Rhein B.V.
 AMO Australia Pty Limited                       BioMedical Enterprises, Inc.
 AMO Canada Company                              Biosense Webster (Israel) Ltd.
 AMO Denmark ApS                                 Biosense Webster, Inc.
 AMO Development, LLC                            C Consumer Products Denmark ApS
 AMO France                                      Calibra Medical LLC
 AMO Germany GmbH                                Campus-Foyer Apotheke GmbH
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 Carlo Erba OTC S.r.l.                            EIT Emerging Implant Technologies GmbH
 Centocor Biologics, LLC                          Ethicon Biosurgery Ireland
 Centocor Research & Development, Inc.            Ethicon Endo-Surgery (Europe) GmbH
 ChromaGenics B.V.                                Ethicon Endo-Surgery, Inc.
 Ci:Labo Customer Marketing Co., Ltd.             Ethicon Endo-Surgery, LLC
 Ci:z. Labo Co., Ltd.                             Ethicon Holding Sarl
 Cilag AG                                         Ethicon Ireland Unlimited Company
 Cilag GmbH International                         Ethicon LLC
 Cilag Holding AG                                 Ethicon PR Holdings Unlimited Company
 Cilag Holding Treasury Unlimited Company         Ethicon Sarl
 Cilag-Biotech, S.L.                              Ethicon US, LLC
 CNA Development GmbH                             Ethicon Women's Health & Urology Sarl
 Codman & Shurtleff, Inc.                         Ethicon, Inc.
 Coherex Medical, Inc.                            Ethnor (Proprietary) Limited
 ColBar LifeScience Ltd.                          Ethnor del Istmo S.A.
 Company Store.com, Inc.                          Ethnor Farmaceutica, S.A.
 Cordis de Mexico, S.A. de C.V.                   Ethnor Guatemala, Sociedad Anomina
 Cordis International Corporation                 Finsbury (Development) Limited
 Corimmun GmbH                                    Finsbury (Instruments) Limited
 CoTherix Inc.                                    Finsbury Medical Limited
 CSATS, Inc.                                      Finsbury Orthopaedics International Limited
 Darlain Trading S.A.                             Finsbury Orthopaedics Limited
 Debs-Vogue Corporation                           FMS Future Medical System SA
   (Proprietary) Limited                          GH Biotech Holdings Limited
 DePuy France                                     Global Investment Participation B.V.
 DePuy Hellas SA                                  GMED Healthcare BV
 DePuy International Limited                      Guangzhou Bioseal Biotech Co., Ltd.
 DePuy Ireland Unlimited Company                  Hansen Medical Deutschland GmbH
 DePuy Mexico, S.A. de C.V.                       Hansen Medical International, Inc.
 DePuy Mitek, LLC                                 Hansen Medical UK Limited
 DePuy Orthopaedics, Inc.                         Hansen Medical, Inc.
 DePuy Products, Inc.                             Healthcare Services (Shanghai) Ltd.
 DePuy Spine, LLC                                 I.D. Acquisition Corp.
 DePuy Synthes Gorgan Limited                     Innomedic Gesellschaft für innovative
 DePuy Synthes Institute, LLC                        Medizintechnik und Informatik mbH
 DePuy Synthes Leto SARL                          Innovalens B.V.
 DePuy Synthes Products, Inc.                     Innovative Surgical Solutions, LLC
 DePuy Synthes Sales, Inc.                        J & J Company West Africa Limited
 DePuy Synthes, Inc.                              J&J Pension Trustees Limited
 Dr. Ci:Labo Co., Ltd.                            J.C. General Services BV
 DR. CI:LABO COMPANY LIMITED                      Janssen Alzheimer Immunotherapy
 Dutch Holding LLC                                   (Holding) Limited
 ECL7, LLC                                        Janssen Biologics (Ireland) Limited
 EES Holdings de Mexico,                          Janssen Biologics B.V.
    S. de R.L. de C.V.                            Janssen BioPharma, Inc.
 EES, S.A. de C.V.                                Janssen Biotech, Inc.



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 Janssen Cilag Farmaceutica S.A.                    Janssen-Cilag GmbH
 Janssen Cilag S.p.A.                               Janssen-Cilag International NV
 Janssen Cilag SPA                                  Janssen-Cilag Kft.
 Janssen Cilag, C.A.                                Janssen-Cilag Limited
 Janssen de Mexico, S. de R.L. de C.V.              Janssen-Cilag Limited
 Janssen Development Finance                        Janssen-Cilag Manufacturing, LLC
    Unlimited Company                               Janssen-Cilag NV
 Janssen Diagnostics, LLC                           Janssen-Cilag OY
 Janssen Egypt LLC                                  Janssen-Cilag Pharma GmbH
 Janssen Farmaceutica Portugal Lda                  Janssen-Cilag Pharmaceutical S.A.C.I.
 Janssen Global Services, LLC                       Janssen-Cilag Polska, Sp. z o.o.
 Janssen Group Holdings Limited                     Janssen-Cilag Pty Ltd
 Janssen Holding GmbH                               Janssen-Cilag S.A.
 Janssen Inc.                                       Janssen-Cilag s.r.o.
 Janssen Irish Finance Company UC                   Janssen-Cilag, S.A.
 Janssen Korea Ltd.                                 Janssen-Cilag, S.A. de C.V.
 Janssen Oncology, Inc.                             Janssen-Pharma, S.L.
 Janssen Ortho LLC                                  J-C Health Care Ltd.
 Janssen Pharmaceutica                              Jevco Holding, Inc.
    (Proprietary) Limited                           JJ Surgical Vision Spain, S.L.
 Janssen Pharmaceutica NV                           JJC Acquisition Company B.V.
 Janssen Pharmaceutica S.A.                         JJHC, LLC
 Janssen Pharmaceutical                             JJSV Belgium BV
 Janssen Pharmaceutical K.K.                        JJSV Manufacturing Malaysia SDN. BHD.
 Janssen Pharmaceutical Sciences                    JJSV Norden AB
    Unlimited Company                               JJSV Produtos Oticos Ltda.
 Janssen Pharmaceuticals, Inc.                      JNJ Global Business Services s.r.o.
 Janssen Products, LP                               JNJ Holding EMEA B.V.
 Janssen R&D Ireland                                JNJ International Investment LLC
 Janssen Research & Development, LLC                JNJ Irish Investments ULC
 Janssen Sciences Ireland                           Johnson & Johnson
    Unlimited Company                               Johnson & Johnson - Societa' Per Azioni
 Janssen Scientific Affairs, LLC                    Johnson & Johnson (Angola), Limitada
 Janssen Supply Group, LLC                          Johnson & Johnson (China) Investment Ltd.
 Janssen Vaccines & Prevention B.V.                 Johnson & Johnson (Egypt) S.A.E.
 Janssen Vaccines Corp.                             Johnson & Johnson (Hong Kong) Limited
 Janssen-Cilag                                      Johnson & Johnson (Ireland) Limited
 Janssen-Cilag (New Zealand) Limited                Johnson & Johnson (Jamaica) Limited
 Janssen-Cilag A/S                                  Johnson & Johnson (Kenya) Limited
 Janssen-Cilag AG                                   Johnson & Johnson (Middle East) Inc.
 Janssen-Cilag Aktiebolag                           Johnson & Johnson (Mozambique),
 Janssen-Cilag AS                                       Limitada
 Janssen-Cilag B.V.                                 Johnson & Johnson (Namibia)
 Janssen-Cilag de Mexico S. de R.L. de C.V.            (Proprietary) Limited
 Janssen-Cilag Farmaceutica Lda.                    Johnson & Johnson (New Zealand) Limited
 Janssen-Cilag Farmaceutica Ltda.                   Johnson & Johnson (Philippines), Inc.



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 Johnson & Johnson (Private) Limited               Johnson & Johnson Financial
 Johnson & Johnson (Thailand) Ltd.                    Services GmbH
 Johnson & Johnson (Trinidad) Limited              Johnson & Johnson for Export and
 Johnson & Johnson (Vietnam) Co., Ltd                 Import LLC
 Johnson & Johnson AB                              Johnson & Johnson Foundation Scotland
 Johnson & Johnson AG                                 (NON-PROFIT)
 Johnson & Johnson Belgium                         Johnson & Johnson Gateway, LLC
    Finance Company BV                             Johnson & Johnson Gesellschaft m.b.H.
 Johnson & Johnson Bulgaria EOOD                   Johnson & Johnson GmbH
 Johnson & Johnson China Ltd.                      Johnson & Johnson Guatemala, S.A.
 Johnson & Johnson Consumer                        Johnson & Johnson Health and
    (Hong Kong) Limited                               Wellness Solutions, Inc.
 Johnson & Johnson Consumer                        Johnson & Johnson Health Care
    (Thailand) Limited                                Systems Inc.
 Johnson & Johnson Consumer B.V.                   Johnson & Johnson Hellas Commercial and
 Johnson & Johnson Consumer                           Industrial S.A.
    Holdings France                                Johnson & Johnson Hellas Consumer
 Johnson & Johnson Consumer Inc.                      Products Commercial Societe Anonyme
 Johnson & Johnson Consumer NV                     Johnson & Johnson Hemisferica S.A.
 Johnson & Johnson Consumer                        Johnson & Johnson Holding GmbH
    Saudi Arabia Limited                           Johnson & Johnson Holdings K.K.
 Johnson & Johnson Consumer Services               Johnson & Johnson Inc.
    EAME Ltd.                                      Johnson & Johnson Industrial Ltda.
 Johnson & Johnson d.o.o.                          Johnson & Johnson Innovation - JJDC, Inc.
 Johnson & Johnson de Argentina                    Johnson & Johnson Innovation Limited
    S.A.C. e. I.                                   Johnson & Johnson Innovation LLC
 Johnson & Johnson de Chile Limitada               Johnson & Johnson International
 Johnson & Johnson de Chile S.A.                   Johnson & Johnson International
 Johnson & Johnson de Colombia S.A.                   (Singapore) Pte. Ltd.
 Johnson & Johnson de Costa Rica, S.A.             Johnson & Johnson International Financial
 Johnson & Johnson de Mexico, S.A. de C.V.            Services Company
 Johnson & Johnson de Uruguay S.A.                 Johnson & Johnson Japan Inc.
 Johnson & Johnson de Venezuela, S.A.              Johnson & Johnson K.K.
 Johnson & Johnson del Ecuador, S.A.               Johnson & Johnson Kft.
 Johnson & Johnson Del Paraguay, S.A.              Johnson & Johnson Korea Ltd.
 Johnson & Johnson del Peru S.A.                   Johnson & Johnson Korea Selling &
 Johnson & Johnson do Brasil Industria E              Distribution LLC
    Comercio de Produtos Para Saude Ltda.          Johnson & Johnson Limitada
 Johnson & Johnson Dominicana, S.A.S.              Johnson & Johnson Limited
 Johnson & Johnson Enterprise                      Johnson & Johnson LLC
    Innovation Inc.                                Johnson & Johnson Luxembourg Finance
 Johnson & Johnson European                           Company Sarl
    Treasury Company                               Johnson & Johnson Management Limited
 Johnson & Johnson Finance Corporation             Johnson & Johnson Medical (China) Ltd.
 Johnson & Johnson Finance Limited                 Johnson & Johnson Medical
                                                      (Proprietary) Ltd



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 Johnson & Johnson Medical (Shanghai) Ltd.         Johnson & Johnson Services, Inc.
 Johnson & Johnson Medical (Suzhou) Ltd.           Johnson & Johnson Servicios Corporativos,
 Johnson & Johnson Medical B.V.                       S. de R.L. de C.V.
 Johnson & Johnson Medical Devices &               Johnson & Johnson Surgical Vision India
    Diagnostics Group - Latin America,                Private Limited
    L.L.C.                                         Johnson & Johnson Surgical Vision, Inc.
 Johnson & Johnson Medical GmbH                    Johnson & Johnson Taiwan Ltd.
 Johnson & Johnson Medical Korea Ltd.              Johnson & Johnson UK Treasury
 Johnson & Johnson Medical Limited                    Company Limited
 Johnson & Johnson Medical Mexico, S.A.            Johnson & Johnson Ukraine LLC
    de C.V.                                        Johnson & Johnson Urban Renewal
 Johnson & Johnson Medical NV                         Associates
 Johnson & Johnson Medical                         Johnson & Johnson Vision Care
    Products GmbH                                     (Shanghai) Ltd.
 Johnson & Johnson Medical Pty Ltd                 Johnson & Johnson Vision Care Ireland
 Johnson & Johnson Medical S.A.                       Unlimited Company
 Johnson & Johnson Medical S.p.A.                  Johnson & Johnson Vision Care, Inc.
 Johnson & Johnson Medical SAS                     Johnson & Johnson, S.A.
 Johnson & Johnson Medical                         Johnson & Johnson, S.A. de C.V.
    Saudi Arabia Limited                           Johnson & Johnson, s.r.o.
 Johnson & Johnson Medical Servicios               Johnson & Johnson, s.r.o.
    Profesionales S. de R.L. de C.V.               Johnson and Johnson (Proprietary) Limited
 Johnson & Johnson Medical Taiwan Ltd.             Johnson and Johnson Sihhi Malzeme Sanayi
 Johnson & Johnson Medical, S.C.S.                    Ve Ticaret Limited Sirketi
 Johnson & Johnson Medikal Sanayi ve               JOM Pharmaceutical Services, Inc.
    Ticaret Limited Sirketi                        La Concha Land Investment Corporation
 Johnson & Johnson Middle East FZ-LLC              Latam International Investment Company
 Johnson & Johnson Morocco                            Unlimited Company
    Societe Anonyme                                Lifescan
 Johnson & Johnson Nordic AB                       McNeil AB
 Johnson & Johnson Pacific Pty Limited             McNeil Consumer Pharmaceuticals Co.
 Johnson & Johnson Pakistan                        McNeil Denmark ApS
    (Private) Limited                              McNeil Healthcare (Ireland) Limited
 Johnson & Johnson Panama, S.A.                    McNeil Healthcare (UK) Limited
 Johnson & Johnson Personal Care                   McNeil Healthcare LLC
    (Chile) S.A.                                   McNeil Iberica S.L.U.
 Johnson & Johnson Poland Sp. z o.o.               McNeil LA LLC
 Johnson & Johnson Private Limited                 McNEIL MMP, LLC
 Johnson & Johnson Pte. Ltd.                       McNeil Nutritionals, LLC
 Johnson & Johnson Pty. Limited                    McNeil Panama, LLC
 Johnson & Johnson Research Pty Ltd                McNeil Products Limited
 Johnson & Johnson Romania S.R.L.                  McNeil Sweden AB
 Johnson & Johnson S.E. d.o.o.                     MDS Co. Ltd.
 Johnson & Johnson S.E., Inc.                      Medical Device Business Services, Inc.
 Johnson & Johnson Sante Beaute France             Medical Devices & Diagnostics Global
 Johnson & Johnson SDN. BHD.                          Services, LLC



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 Medical Devices International LLC            Pharmedica Laboratories (Proprietary)
 Medical Industrial do Brasil Ltda.              Limited
 Medos International Sarl                     PMC Holdings G.K.
 Medos Sarl                                   Princeton Laboratories, Inc.
 MegaDyne Medical Products, Inc.              Productos de Cuidado Personal y de La
 Menlo Care De Mexico, S.A. de C.V.              Salud de Bolivia S.R.L.
 Mentor B.V.                                  Proleader S.A.
 Mentor Deutschland GmbH                      PT Integrated Healthcare Indonesia
 Mentor Medical Systems B.V.                  PT. Johnson & Johnson Indonesia
 Mentor Partnership Holding                   Pulsar Vascular, Inc.
    Company I, LLC                            Regency Urban Renewal Associates
 Mentor Texas GP LLC                          RespiVert Ltd.
 Mentor Texas L.P.                            RoC International
 Mentor Worldwide LLC                         Rutan Realty LLC
 Micrus Endovascular LLC                      Scios LLC
 Middlesex Assurance Company Limited          Sedona Enterprise Co., Ltd.
 Momenta Ireland Limited                      Sedona Singapore International Pte. Ltd.
 Momenta Pharmaceuticals, Inc.                Sedona Thai International Co., Ltd.
 NeoStrata Company, Inc.                      Serhum S.A. de C.V.
 NeoStrata UG (haftungsbeschränkt)            Shanghai Elsker For Mother & Baby
 Netherlands Holding Company                     Co., Ltd
 Neuravi Inc.                                 Shanghai Johnson & Johnson Ltd.
 Neuravi Limited                              Shanghai Johnson & Johnson
 NeuWave Medical, Inc.                        Pharmaceuticals Ltd.
 Novira Therapeutics, LLC                     Sightbox, LLC
 NuVera Medical, Inc.                         Sodiac ESV
 Obtech Medical Mexico, S.A. de C.V.          Spectrum Vision Limited Liability Company
 OBTECH Medical Sarl                          Spectrum Vision Limited Liability Company
 OGX Beauty AU Pty Ltd                        Spectrum Vision Limited Liability
 OGX Beauty Limited                             Partnership
 OMJ Holding GmbH                             Spine Solutions GmbH
 OMJ Ireland Unlimited Company                SterilMed, Inc.
 OMJ Pharmaceuticals, Inc.                    Sterilmed, Inc.
 Omrix Biopharmaceuticals Ltd.                Surgical Process Institute Deutschland
 Omrix Biopharmaceuticals NV                     GmbH
 Omrix Biopharmaceuticals, Inc.               Synthes Costa Rica S.C.R., Limitada
 Ortho Biologics LLC                          SYNTHES GmbH
 Ortho Biotech Holding LLC                    Synthes GmbH
 Ortho-McNeil Pharmaceutical, LLC             Synthes Holding AG
 Orthotaxy                                    Synthes Holding Limited
 Patriot Pharmaceuticals, LLC                 SYNTHES Medical Immobilien GmbH
 Peninsula Pharmaceuticals, LLC               Synthes Medical Surgical Equipment &
 Penta Pty. Limited                              Instruments Trading LLC
 Percivia LLC                                 Synthes Produktions GmbH
 Perouse Plastie                              Synthes Proprietary Limited
 Pharmadirect Ltd.                            Synthes S.M.P., S. de R.L. de C.V.



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 Synthes Tuttlingen GmbH                             Major Sureties
 Synthes USA Products, LLC
 Synthes USA, LLC                                    Chubb
 Synthes, Inc.                                       Federal Insurance Company
 TARIS Biomedical LLC                                Liberty Mutual Insurance Company
 TearScience, Inc.                                   Travelers Casualty and Surety Company of
 The Anspach Effort, LLC                                America
 The Vision Care Institute, LLC
 Tibotec, LLC                                        Parties to Material Contracts with the
 Torax Medical, Inc.                                 Debtor
 TriStrata, Incorporated
 UAB "Johnson & Johnson"                             Johnson & Johnson
 Vania Expansion                                     Johnson & Johnson Consumer Inc.
 Verb Surgical Inc.                                  Johnson & Johnson Services, Inc.
 Vision Care Finance Unlimited Company               U.S. Bank N.A.
 Vogue International LLC
 Vogue International Trading, Inc.                   Significant Co-Defendants in Talc-
 WH4110 Development Company, L.L.C.                  Related Litigation
 Xian Janssen Pharmaceutical Ltd.
 XO1 Limited                                         3M Company
 Zarbee's, Inc.                                      A.O. Smith Corporation
                                                     Albertsons Companies, Inc.
 Managers and Officers of the Debtor                 Avon Products, Inc.
                                                     Barretts Minerals, Inc.
 John Kim                                            BASF Catalysts LLC
 Richard Dickinson                                   Block Drug Company, Inc.
 Robert Wuesthoff                                    Borg Warner Morse Tec, Inc.
 Russell Deyo                                        Brenntag North America
                                                     Brenntag Specialties, Inc.
 Major Current Business Affiliations of              Bristol-Myers Squibb Company
 Debtor’s Managers                                   Carrier Corporation
                                                     Chanel, Inc.
 American Foundation for Opioid                      Charles B. Chrystal Co., Inc.
   Alternatives                                      Chattem, Inc.
 Lawyers for Civil Justice                           Colgate-Palmolive Company
 Migration Policy Institute                          Conopco Inc.
 Miller Center for Community Protection &            Costco Wholesale Corporation
   Reliance, Eagleton Institute of Politics,         Coty, Inc.
   Rutgers University                                Crane Co.
 National Center for State Courts                    CVS Health Corporation
 National Council, McLean Hospital                   CVS Pharmacy, Inc.
 New Jersey Civil Justice Institute                  Cyprus Amax Minerals Company
 One Mind                                            Cyprus Mines Corporation
                                                     Dana Companies, LLC
 Depository and Disbursement Banks                   DAP Products, Inc.
                                                     Dollar General Corporation
 Bank of America, N.A.                               Duane Reade Inc.


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 Eaton Corporation                             Shulton, Inc.
 Eli Lilly and Company                         Specialty Minerals Inc.
 Elizabeth Arden, Inc.                         Target Corporation
 Estee Lauder Inc.                             The Dow Chemical Company
 Family Dollar Stores Inc.                     The Estee Lauder Companies, Inc.
 Flowserve US, Inc.                            The Kroger Co.
 FMC Corporation                               The Procter & Gamble Company
 Food 4 Less of California, Inc.               Thrifty Payless, Inc.
 Ford Motor Company                            Unilever Home & Personal Care USA
 Foster Wheeler, LLC                           Union Carbide Corporation
 Gardner Denver, Inc.                          Vanderbilt Minerals, LLC
 General Electric Company                      ViacomCBS, Inc.
 Genuine Parts Company                         Walgreen Co.
 Goodyear Tire & Rubber Co.                    Walmart, Inc.
 Goulds Pumps, LLC                             Warren Pumps, LLC
 Grinnell LLC                                  Whittaker Clark & Daniels, Inc.
 Honeywell International, Inc.                 Wyeth Holdings LLC
 Imerys Talc America, Inc.                     Yves Saint Laurent America, Inc.
 Imerys USA, Inc.
 IMO Industries Inc.                           Debtors' Retained Professionals and
 John Crane, Inc.                              Claims Agent
 K&B Louisiana Corporation
 Kaiser Gypsum Company, Inc.                   AlixPartners LLP
 Kmart Corporation                             Bates White LLC
 Kolmar Laboratories                           Epiq Corporate Restructuring LLC
 Longs Drug Stores California                  Jones Day
 L'Oreal USA, Inc.                             King & Spalding LLP
 Lucky Stores, Inc.                            McCarter & English, LLP
 Macy's, Inc.                                  Rayburn Cooper & Durham, P.A.
 Mary Kay Inc.                                 Shook, Hardy & Bacon L.L.P.
 Maybelline LLC                                Weil Gotshal & Manges LLP
 Metropolitan Life Insurance Company
 Noxell Corporation                            Debtors' Significant Ordinary Course
 Personal Care Products Council                Professionals, Consultants, and Service
 Pfizer, Inc.                                  Providers
 Pharma Tech Industries, Inc.
 Pneumo Abex, LLC                              Adler Pollock & Sheehan PC
 PTI Royston, LLC                              Bailey Glasser LLP
 Publix Super Markets, Inc.                    Barnes & Thornburg, LLP
 R.T. Vanderbilt Holding Company, Inc.         Barrasso Usdin Kupperman
 Ralphs Grocery Company                           Freeman & Sarver, L.L.C.
 Revlon Consumer Products Corporation          Blake, Cassels & Graydon LLP
 Revlon, Inc.                                  Blank Rome LLP
 Rite Aid Corporation                          Brown Greer PLC
 Safeway, Inc.                                 Butler Snow LLP
 Sanofi-Aventis U.S. LLC                       Carlton Fields, P.A.



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 Chehardy, Sherman, Williams,                    Known Professionals for Certain
    Recile, & Hayes                              Non-Debtor Parties in Interest
 Covington & Burling LLP
 Damon Key Leong Kupchak Hastert                 Cravath, Swaine & Moore
 Davis Hatley Haffeman & Tighe                   White & Case LLP
 Dechert LLP
 Elliott Law Offices, PA                         Material Potentially Indemnified Parties
 Faegre Drinker Biddle & Reath LLP
 Foliart, Huff, Ottaway & Bottom                 Bausch Health Companies Inc.
 Gibson, Dunn & Crutcher LLP                     Cyprus Mines Corporation
 Goldman Ismail Tomaselli Brennan &              Cyprus Talc Corp.
     Baum                                        Imerys Talc America, Inc.
 Hartline Barger                                 Imerys Talc Vermont, Inc.
 HeplerBroom LLC                                 Luzenac America, Inc.
 Irwin Fritchie Urquhart & Moore LLC             Pharma Tech Industries, Inc.
 Johnson & Bell Ltd.                             PTI Royston, LLC
 Jones, Skelton & Hochuli, P.L.C.                Rio Tinto America, Inc.
 Kaplan, Johnson, Abate & Bird LLP               RTZ America, Inc.
 Kelley Jasons McGowan Spinelli                  Valeant Pharmaceuticals International, Inc.
    Hanna & Reber, LLP                           Windsor Minerals Inc.
 Kirkland & Ellis LLP                            Costco Wholesale Corporation
 Kitch Drutchas Wagner                           Publix Super Markets, Inc.
    Valitutti & Sherbrook                        Rite Aid Corporation
 Lewis Brisbois Bisgaard & Smith, LLP            Safeway Inc.
 Manion Gaynor & Manning LLP                     Walmart Inc.
 Miles & Stockbridge
 Milligan & Herns                                Law Firms with Significant
 Morgan Lewis                                    Representations of Talc Claimants
 Nelson Mullins Riley & Scarborough, LLP
 Nutter McClennen & Fish LLP                     Arnold & Itkin LLP
 Orrick, Herrington, & Sutcliffe, LLP            Ashcraft & Gerel, LLP
 Patterson Belknap Webb & Tyler LLP              Aylstock, Witkin, Kreis & Overholtz, PLLC
 Proskauer Rose LLP                              Barnes Firm
 Quattlebaum, Grooms & Tull PLLC                 Beasley Allen Law Firm
 Schnader Harrison Segal & Lewis                 Cellino Law LLP
 Schwabe Williamson & Wyatt                      Dalimonte Rueb Stoller, LLP
 Sidley Austin LLP                               Dean Omar Branham Shirley, LLP
 Skadden, Arps, Slate, Meager & Flom LLP         Driscoll Firm, LLC
 Stoel Rives LLP                                 Fears Nachawati Law Firm
 Sullivan Whitehead & Deluca LLP                 Ferraro Law Firm
 Swartz Campbell LLC                             Flint Law Firm LLC
 The Weinhardt Law Firm                          Golomb Spirit Grunfeld, P.C.
 Tucker Ellis LLP                                Honik LLC
 Willcox & Savage, P.C.                          Johnson Law Group
                                                 Karst & von Oiste LLP
                                                 Kazan, McClain, Satterly
                                                    & Greenwood PLC


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 Lanier Law Firm                                   Allianz Global Risks US Insurance
 Levy Konigsberg LLP                                  Company
 Maune Raichle Hartley French &                    Allstate Insurance Company
   Mudd, LLC                                       American Centennial Ins. Company
 Miller Firm, LLC                                  American Motorists Ins. Company
 Motley Rice LLC                                   American Re-Insurance Company
 Napoli Shkolnik PLLC                              Arrowood Indemnity Company
 OnderLaw, LLC                                     ASR Schadeverzekering N.V.
 Simmons Hanly Conroy LLC                          Assurances Generales De France
 Simon Greenstone Panatiere                        Assurantiekantoor VanWijk & Co.
    Bartlett, PC                                   Atlanta International Insurance Company
 The Gori Law Firm                                 Birmingham Fire Ins. Company of
 Trammell PC                                          Pennsylvania
 Weitz & Luxenberg, P.C.                           Central National Ins. Company of Omaha
 Williams Hart Law Firm                            Century Indemnity Company
                                                   Champion Dyeing Allocation Year
 Key Parties in Imerys Talc America, Inc.          Chubb
 and Cyprus Mines Corp. Chapter 11 Cases           City Ins. Company
                                                   Colonia Versicherungs AG, Koln
 Cyprus Amax Minerals Company                      Continental Insurance Company
 Cyprus Mines Corporation                          Darag Deutsche Versicherungs-Und
 Cyprus Talc Corporation                              Rückversicherungs-AG
 Imerys S.A.                                       Drake Ins. Company of New York
 Imerys Talc America, Inc.                         Employers Ins. Company of Wausau
 Imerys Talc Vermont, Inc.                         Employers Ins. of Wausau
    (fka Windsor Minerals Inc.)                    Employers Mutual Casualty Company
 James L. Patton                                   Eurinco Allgemeine
 Luzenac America, Inc.                                Versicherungs AG, Dusseldorf
 Official Committee of Tort Claimants              Everest Reinsurance Company
    (In re Imerys Talc America, Inc.)              Fireman's Fund Ins. Company
 Official Committee of Tort Claimants              First State Ins. Company
    (In re Cyprus Mines Corp.)                     GAP
 Roger Frankel                                     Gibraltar Casualty Company
                                                   Granite State Ins. Company
 Debtor's Insurers                                 Great American
                                                   Great Northern Ins. Company
 A.G. Securitas                                    Great Southwest Fire Ins. Company
 ACE Property & Casualty Insurance                 Groupe Drouot
    Company                                        Harbor Ins. Company
 Aetna Casualty and Surety Company                 Hartford Accident and Indemnity Company
 Affiliated FM Ins. Company                        Home Ins. Company
 AIG Europe S.A.                                   Ideal Mutual Ins. Company
 AIG Property and Casualty Company                 Industrial Indemnity Company
 AIU Ins. Company                                  Ins. Company of North America
 Allianz Ins. Company                              Ins. Company of the State of Pennsylvania
                                                   Ins. Corporation of Singapore Limited



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 Integrity Ins. Company                            Safety National Casualty Corporation
 International Ins. Company                        Seguros La Republica SA
 International Surplus Lines Ins. Company          Sentry Insurance A Mutual Company
 Lexington Ins. Company                            Southern American Ins. Company
 London Guarantee and Accident                     Starr Indemnity & Liability Company
     Company of N.Y.                               TIG Insurance Company
 L'Union Atlantique S.A. d'Assurances              Transamerica Premier Insurance Company
 Mead Reinsurance Corporation                      Transit Casualty Company
 Middlesex Assurance Company                       Travelers Casualty and Surety Company
 Midland Ins. Company                              UAP
 Midstates Reinsurance Corp.                       Union Atlantique d'Assurances S.A.
 Mission Ins. Company                              Union Indemnity Ins. Company
 Mission National Ins. Company                        of New York
 Munich Reinsurance America, Inc.                  Westchester Fire Insurance Company
 Mutual Fire, Marine, & Inland Ins.                Westport Insurance Corporation
     Company                                       XL Ins. Company
 N.V. De Ark
 N.V. Rotterdamse Assurantiekas                    Employees of the Bankruptcy
 N.V. Schadeverzekeringsmaatschappij               Administrator's Office for the Western
     Maas Lloyd                                    District of North Carolina
 National Casualty Company
 National Union Fire Ins. Company of               Alexandria Kenny
     Pittsburgh, PA                                Anne Whitley
 Nationwide                                        David Shepherd
 New Hampshire Ins. Company                        Katrina Adams
 North River Ins. Company                          Sarah Scholz
 Northbrook Excess and Surplus                     Shelley K. Abel
    Ins. Company
 Northeastern Fire Ins. Company                    Bankruptcy Judges for the Western
     of Pennsylvania                               District of North Carolina
 Pacific Employers Ins. Company
 ProSight                                          Judge George Hodges
 Prudential Reinsurance Company                    Judge J. Craig Whitley
 Puritan Insurance Company                         Judge Laura T. Beyer
 Republic Indemnity Company of America
 Republic Ins. Company
 Republic Western Ins. Company
 Repwest Insurance Company
 Resolute Management Inc.
 Rheinland Versicherungen
 Rheinland Verzekeringen
 Riverstone Insurers
 Royal Belge I.R., S.A. d'Assurances
 Royal Indemnity Company
 Royal Ins. Company
 Safety Mutual Casualty Corporation



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 Bankruptcy Rule 2002 Appearances1                              Cyprus Mines Corporation
                                                                Gloria Davis
 AIG Europe S.A. (as successor in interest to                   Dawn Dispensa
     Union Atlantique d’Assurances S.A)                         Patricia Dunbar
 AIG Property Casualty Company (f/k/a                           Fears Nachawati PLLC
     Birmingham Fire Insurance Company of                       Ann Frye-Moragne
     Pennsylvania)                                              Debra Fugiel
 AIU Insurance Company                                          Victoria Gomes
 Wanda Allen                                                    Granite State Insurance Company
 Allstate Insurance Company, as successor in                    Andrea Harris
     interest to Northbrook Excess & Surplus                    Charlette Hein
     Insurance Company, formerly                                Tabitha Henry
     Northbrook Insurance Company                               Christine Hodge
 Atlanta International Insurance Company (as                    Darlene Holland
     successor in interest to Drake Insurance                   Imerys Talc America, Inc.
     Company)                                                   Imerys Talc Canada Inc.
 Arnold & Itkin LLP                                             Imerys Talc Vermont, Inc.
 ASR Schadeverzekering N.V. (as successor                       The Insurance Company of the State of
     in interest to Assurantiekoor Van Wijk                         Pennsylvania
     & Co.)                                                     Johnson & Johnson
 Aylstock, Witkin, Kreis & Overholtz, PLLC                      Johnson & Johnson Consumer Inc.
 Barnes Law Group                                               Voncile Jones
 Bausch Health Americas, Inc. f/k/a Valeant                     Amanda Joyce
    Pharmaceuticals International                               Kazan, McClain, Satterley &
 Bausch Health Companies Inc. f/k/a Valeant                        Greenwood, PLLC
    Pharmaceuticals International, Inc.                         Shelly King
 Bausch Health US, LLC f/k/a Valeant                            Mildred Kirk-Brown
    Pharmaceuticals North America LLC                           Julie Lamore
 Bestwall LLC                                                   Susan Leach
 Blue Cross Blue Shield Association                             Mary Leinen
 Blue Cross Blue Shield of Massachusetts,                       Levy Konigsberg LLP
    Inc                                                         Lexington Insurance Company
 Edna Brown                                                     Jo Ellen Luster
 Barbara Busch                                                  Nancy Lyman
 Beatriz Cabeza                                                 Massey & Gail LLP
 Monica Cambron                                                 Bernadette McGinnis
 Tarshwa Carter                                                 Pamela Morrill
 Bridget Coates                                                 National Union Fire Insurance Company of
 Cohen, Placitella & Roth P.C.                                      Pittsburgh, Pa.
 Lillian Cohn-Sharon                                            New Hampshire Insurance Company
 The Continental Insurance Company                              The North River Insurance Company
 Elaine Cook                                                    N.V. Schadeverzekeringsmaatschappij Maas
 Cyprus Amax Minerals Company                                       Lloyd (individually and as successor in
 1
        Where a Bankruptcy Rule 2002 appearance was filed by counsel on behalf of clients, the clients have been
        listed herein to the extent identified and where certain clients have not been identified, the filing counsel is
        listed, to the extent not otherwise listed herein.



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     interest to policies subscribed in favor of
     Johnson & Johnson by N.V.
     Rotterdamse Assurantiekas, n/k/a De
     Ark)
 Kathleen O’Halloran
 Lisa O’Neal
 OnderLaw, LLC
 The Plaintiffs Steering Committee in the In
     re: Johnson & Johnson Talcum Powder
     Products Marketing, Sales Practices and
     Precuts Liability Multi-District
     Litigation
 RheinLand Versicherungen (as successor in
     interest only to the subscriptions of the
     former Dutch company Rheinland
     Verzekeringen)
 Rio Tinto America Inc.
 Cora Robinson
 Robinson Calcagnie, Inc.
 Lisa Sabatine
 Maraldine Schmidt
 Valerie Schultz
 Isabel Spano
 Starr Indemnity & Liability Company (as
     successor in interest to Republic
     Insurance Company)
 State of Texas, Attorney General of Texas
 Three Crowns Insurance Company
 Christine Torres
 Travelers Casualty and Surety Company
     (f/k/a The Aetna Casualty and Surety
     Company)
 May Virata
 Waldrep Wall Babcock & Bailey PLLC
 Westchester Fire Insurance Company
 Sharon Wildman
 Oshunna Williams




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                                   Schedule 2

                               Disclosure Schedule




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Direct Equity Owner of Debtor
Other Non‑Debtor Affiliates
Acclarent, Inc.
                                                                            Shook represents this entity in unrelated matters.
DePuy International Limited
                                                                            Shook represents this entity in unrelated matters.
DePuy Mitek, LLC
                                                                            Shook represents this entity in unrelated matters.
DePuy Orthopaedics, Inc.
                                                                            Shook represents this entity in unrelated matters.
DePuy Products, Inc.
                                                                            Shook represents this entity in unrelated matters.
DePuy Synthes Products, Inc.
                                                                            Shook represents this entity in unrelated matters.
DePuy Synthes Sales, Inc.
                                                                            Shook represents this entity in unrelated matters.
DePuy Synthes, Inc.
                                                                            Shook represents this entity in unrelated matters.
Ethicon Endo-Surgery, Inc.                                                  Shook represents this entity in unrelated matters.

Ethicon LLC                                                                 Shook represents this entity in unrelated matters.

Ethicon Women's Health & Urology Sarl                                       Shook represents this entity in unrelated matters.

Janssen Biotech, Inc.                                                       Shook represents this entity in unrelated matters.

Janssen Ortho LLC                                                           Shook represents this entity in unrelated matters.

Janssen Pharmaceuticals, Inc.                                               Shook represents this entity in unrelated matters.

Janssen Products, LP                                                        Shook represents this entity in unrelated matters.

Janssen Research & Development, LLC                                         Shook represents this entity in unrelated matters.

Johnson & Johnson Consumer Inc.                                             Shook represents this entity in unrelated matters.

Johnson & Johnson International                                             Shook represents this entity in unrelated matters.

Johnson & Johnson S.E., Inc.                                                Shook represents this entity in unrelated matters.

Johnson & Johnson Services, Inc.                                            Shook represents this entity in unrelated matters.

Medical Device Business Services, Inc.                                      Shook represents this entity in unrelated matters.

OMJ Pharmaceuticals, Inc.                                                   Shook represents this entity in unrelated matters.

Ortho-McNeil Pharmaceutical, LLC                                            Shook represents this entity in unrelated matters.

Synthes USA Products, LLC                                                   Shook represents this entity in unrelated matters.

Synthes USA, LLC                                                            Shook represents this entity in unrelated matters.

Synthes, Inc.                                                               Shook represents this entity in unrelated matters.


Depository and Disbursement Banks
Bank of America, N.A.                                                       Shook represents this entity in unrelated matters.
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Major Sureties
Chubb                                                                       Shook represents this entity in unrelated matters.

Federal Insurance Company                                                   Shook represents this entity in unrelated matters.

Liberty Mutual Insurance Company                                            Shook represents this entity in unrelated matters.


Parties to Material Contracts with the Debtor
Johnson & Johnson Services, Inc.                                            Shook represents this entity in unrelated matters.

U.S. Bank N.A.                                                              Shook represents this entity in unrelated matters.


Significant Co-Defendants in Talc-Related Litigation
3M Company                                                                  Shook represents this entity in unrelated matters.

Avon Products, Inc.                                                         Shook represents this entity in unrelated matters.

BASF Catalysts LLC                                                          Shook represents this entity in unrelated matters.

Bristol-Myers Squibb Company                                                Shook represents this entity in unrelated matters.

Colgate-Palmolive Company                                                   Shook represents this entity in unrelated matters.

Conopco Inc.                                                                Shook represents this entity in unrelated matters.

Costco Wholesale Corporation                                                Shook represents this entity in unrelated matters.

Crane Co.                                                                   Shook represents this entity in unrelated matters.

CVS Pharmacy, Inc.                                                          Shook represents this entity in unrelated matters.

Eli Lilly and Company                                                       Shook represents this entity in unrelated matters.

Family Dollar Stores Inc.                                                   Shook represents this entity in unrelated matters.

Ford Motor Company                                                          Shook represents this entity in unrelated matters.

Grinnell LLC                                                                Shook represents this entity in unrelated matters.

Honeywell International, Inc.                                               Shook represents this entity in unrelated matters.

John Crane, Inc.                                                            Shook represents this entity in unrelated matters.

Macy's, Inc.                                                                Shook represents this entity in unrelated matters.

Pfizer, Inc.                                                                Shook represents this entity in unrelated matters.

Revlon, Inc.                                                                Shook represents this entity in unrelated matters.

Rite Aid Corporation                                                        Shook represents this entity in unrelated matters.

Sanofi-Aventis U.S. LLC                                                     Shook represents this entity in unrelated matters.

Shulton, Inc.                                                               Shook represents this entity in unrelated matters.

The Procter & Gamble Company                                                Shook represents this entity in unrelated matters.

Union Carbide Corporation                                                   Shook represents this entity in unrelated matters.

ViacomCBS, Inc.                                                             Shook represents this entity in unrelated matters.
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Walgreen Co.                                                                   Shook represents this entity in unrelated matters.

Walmart, Inc.                                                                  Shook represents this entity in unrelated matters.


Material Potentially Indemnified Parties
Costco Wholesale Corporation                                                   Shook represents this entity in unrelated matters.

Rite Aid Corporation                                                           Shook represents this entity in unrelated matters.

Walmart Inc.                                                                   Shook represents this entity in unrelated matters.


Debtor's Insurers
AIG Property and Casualty Company                                              Shook represents this entity in unrelated matters.

Century Indemnity Company                                                      Shook represents this entity in unrelated matters.

Chubb                                                                          Shook represents this entity in unrelated matters.

Continental Insurance Company                                                  Shook represents this entity in unrelated matters.

Employers Ins. Company of Wausau                                               Shook represents this entity in unrelated matters.

Fireman's Fund Ins. Company                                                    Shook represents this entity in unrelated matters.

Granite State Ins. Company                                                     Shook represents this entity in unrelated matters.

Great American                                                                 Shook represents this entity in unrelated matters.

Ins. Company of North America                                                  Shook represents this entity in unrelated matters.

Ins. Company of the State of Pennsylvania                                      Shook represents this entity in unrelated matters.

International Surplus Lines Ins. Company                                       Shook represents this entity in unrelated matters.

Lexington Ins. Company                                                         Shook represents this entity in unrelated matters.

National Casualty Company                                                      Shook represents this entity in unrelated matters.

National Union Fire Ins. Company of Pittsburgh, PA                             Shook represents this entity in unrelated matters.

Nationwide                                                                     Shook represents this entity in unrelated matters.

New Hampshire Ins. Company                                                     Shook represents this entity in unrelated matters.

ProSight                                                                       Shook represents this entity in unrelated matters.

Resolute Management Inc.                                                       Shook represents this entity in unrelated matters.

Sentry Insurance A Mutual Company                                              Shook represents this entity in unrelated matters.

TIG Insurance Company                                                          Shook represents this entity in unrelated matters.

Westport Insurance Corporation                                                 Shook represents this entity in unrelated matters.


Bankruptcy Rule 2002 Appearances
The Continental Insurance Company                                              Shook represents this entity in unrelated matters.
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Granite State Insurance Company                                                Shook represents this entity in unrelated matters.

The Insurance Company of the State of Pennsylvania                             Shook represents this entity in unrelated matters.

Johnson & Johnson                                                              Shook represents this entity in unrelated matters.

Johnson & Johnson Consumer Inc.                                                Shook represents this entity in unrelated matters.

Lexington Insurance Company                                                    Shook represents this entity in unrelated matters.

National Union Fire Insurance Company of Pittsburgh, Pa.                       Shook represents this entity in unrelated matters.

New Hampshire Insurance Company                                                Shook represents this entity in unrelated matters.
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                                           Schedule 3

                    Nonexclusive List of Certain Shook, Hardy & Bacon L.L.P.
    Professionals and Their Previously Negotiated Discounted Hourly Rates as of October 2021

                                                                      BILLING RATE
              NAME                 LOCATION         POSITION         IN EFFECT AS OF
                                                                    THE PETITION DATE
      Kathleen A. Frazier            Houston             Partner            $487.90

         Scott A. James              Houston             Partner            $475.60

      Ashleigh Nwanguma              Houston            Associate           $319.00

        Stephanie Lingor             Houston            Paralegal           $188.00

        Kerry Stufflebean           Kansas City         Paralegal           $164.00




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                                  EXHIBIT D

                            Disclosure of Compensation




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                            UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION


 In re                                                             Chapter 11

 LTL MANAGEMENT LLC, 1                                             Case No. 21-30589 (JCW)

                           Debtor.


         DISCLOSURE OF COMPENSATION OF SHOOK, HARDY & BACON L.L.P.

                  Pursuant to section 329(a) of the Bankruptcy Code, Bankruptcy Rule 2016(b) and

 Local Bankruptcy Rule 2016-1, Kathleen A. Frazier hereby certifies as follows:

                  1.       I am a partner with the law firm of Shook, Hardy & Bacon L.L.P.

 (“Shook”) and am duly authorized to make this Disclosure of Compensation on behalf of Shook

 in connection with the Debtor’s Ex Parte Application for an Order Authorizing It to Retain and

 Employ Shook, Hardy & Bacon L.L.P. as Special Counsel as of the Petition Date

 (the “Application”). 2 The facts set forth in this Disclosure of Compensation are personally

 known to me and, if called as a witness, I could and would testify thereto.

                  2.       Prior to the Petition Date, no retainers were paid to Shook by the Debtor

 for professional services and expenses to be incurred.

                  3.       In the one-year period preceding the Petition Date, Shook received

 payments from J&J totaling approximately $16,862,313.00 (collectively, the “Prepetition

 Payments”). The Prepetition Payments reflect certain actual fees and expenses incurred

 primarily in connection with litigation-related work performed in the defense of talc claims on


 1
          The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
          501 George Street, New Brunswick, New Jersey 08933.
 2
          Capitalized terms not otherwise defined herein have the meanings given to them in the Application.



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 behalf of J&J and Old JJCI. Approximately $3,000.00 of the Prepetition Payments relates to

 work in connection with preparations for the 2021 Corporate Restructuring and the Chapter 11

 Case.

                  4.    To the best of my knowledge, information and belief, insofar as I have

 been able to ascertain after reasonable inquiry, neither I nor Shook, nor any partner or associate

 thereof, has received or been promised any compensation for legal services rendered or to be

 rendered in any capacity in connection with the Chapter 11 Case, other than as permitted by the

 Bankruptcy Code. Shook has not agreed to share compensation received in connection with this

 case with any other person, except as permitted by section 504(b) of the Bankruptcy Code and

 Bankruptcy Rule 2016(b) in respect of the sharing of compensation among Shook’s partners.

 Dated: November 15, 2021                           /s/ Kathleen A. Frazier
        Houston, Texas                              Kathleen A. Frazier
                                                    Shook, Hardy & Bacon L.L.P.




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